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                                                             June 20, 2023

Via ECF

The Honorable Vernon S. Broderick
  Thurgood Marshall
    United States Courthouse
      40 Foley Square
         New York, NY 10007.

                  Re:        True Return Systems LLC v. MakerDAO, No. 22-cv-8478 (VSB)

Dear Judge Broderick:

       I respectfully write on behalf of our client the Crypto Council for Innovation
(“CCI”) regarding the June 15 letter submitted by plaintiff’s counsel (ECF No. 48), which
attached an e-mail and letter from an unknown individual or entity calling itself
@TeamMaker (ECF No. 48-1).1 CCI does not know who sent those communications—or
what their intention was in sending them—and CCI respectfully submits that the
anonymous communications should be disregarded. Plaintiff appears to agree.
(ECF No. 48 at 1 (“We respectfully request that the Court disregard this latest
communication.”).)

        We would be happy to provide any further information that the Court might find
helpful as it evaluates CCI’s motion.




1
  The Court previously received several letters from an unknown individual or entity calling
itself @MakerDAOdai (see, e.g., ECF No. 46). We do not know if there is any significance
to the different names.
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 Hon. Vernon S. Broderick                                                  -2-

                                         Respectfully Submitted,


                                         /s/ Dustin F. Guzior
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                                          Counsel for Crypto Council for
                                          Innovation

cc:   All Counsel of Record (via ECF)
